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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY


J&J NEW JERSEY, LLC                                          Civil Action No.: 3:13-05096-PGS-DEA

                   Plain ti/J

        V.
                                                                               ORDER
UNITY CONSTRUCTION SERVICES, INC., et. a!.

                   Defendants.



        WHEREAS, presently pending before this Court is Plaintiff, J&J New Jersey, LLC’s

 (hereinafter “Plaintiff’), Motion to Certify the June 18, 2015, Order of this Court, denying

 Plaintiffs Motion for Reconsideration, for Interlocutory Appeal (ECF 61);

        WHEREAS, by Order dated March 31, 2015, this Court previously granted Defendant,

 ATA/Beilharz Architect, LLC’s (“ATAB”), Motion for Partial Summary Judgment (ECF 38),

 and by Order dated June 18, 2015, denied Plaintiff’s subsequent Motion for Reconsideration of

 the Court’s March 31, 2015, Order;

        WHEREAS, to succeed on a motion seeking certification of an Order of the Court for

 interlocutory appeal pursuant to 18 U.S.C.   § 1292(h), Plaintiff must establish that the matter: (1)
 involves a controlling question of law, (2) as to which there is substantial ground for difference

 of opinion, and (3) the final resolution of the appeal must have the potential to materially

 advance the determination of the litigation. See Katz v. Carte Blance Corp., 496 F.2d 747, 752

 (3d Cir. 1974);




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       WHEREAS, “[t]he burden is on the party seeking certification to demonstrate that

‘exceptional circumstances justify a departure from the basic policy against piecemeal litigation

and of postponing appellate review until after the entry of a final judgment.” L.R.   ‘.   Manheiin

Tip. Sch. Dist., 540 F.Supp. 2d 603, 608 (E.D. Pa. 2008) (quoting Rottmund v. Cont’lAssiir.

Co., 813 F. Supp. 1104, 1112 (E.D. Pa. 1992));

       WHEREAS, a substantial ground for difference of opinion making interlocutory appeal

proper “[m]ust arise out of genuine doubt as to the correct legal standard.” P. Schoenfeld Asset

Mgrnt. LLC v. Cendant Coip., 161 F. Supp. 2d 355, 360 (D.N.J. 2001);

       WHEREAS, “[m]ere disagreement with the District Court’s ruling does not constitute a

‘substantial ground for difference of opinion’ within the meaning of § 1292(b).” Kapossy v.

McGraw-Hill, Inc., 942 F. Supp. 966, 1001 (D.N.J. 1996);

       WHEREAS, the Court has carefully reviewed the parties’ submissions as well as the

arguments therein set forth;

       WHEREAS, it is the determination of this Court that Plaintiff has failed to carry its

burden under the above-referenced standard in that Plaintiff has not established in its

submissions that there exists (1) a controlling question of law, (2) for which there is substantial

ground for difference of opinion, (3) that would materially advance the determination of this

litigation; See Katz, 496 F.2d at 752;

       WHEREAS, the Court, in the exercise of its discretion, has elected to determine the

present motion based on a careful review of the parties’ submissions, and without need for oral

argument with respect to same; see FED R. CIV. P. 78(b);




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                ____,
                 ___




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      IT on this        day of                  hereby:

      ORDERED that Plaintiffs Motion to Certify the Court’s June 18, 2015. Order for

Interlocutory Appeal (ECF 62) is hereby DENIED.


Dated: August       2015                                    _S—__
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                                                            hAi
                                                  PETER G. SHERIDAN, U.S.D.J.




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